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                        APPENDIX D
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

DION ARMSTEAD, 248951,

      Petitioner,
                                          CASE NO. 2:17-CV-11990
V.
                                          HON. ARTHUR J. TARNOW
THOMAS WINN,
                                          MAG. JUDGE PATRICIA T. MORRIS
      Respondent.



                    AFFIDAVIT OF JEROME W. ZIMMER, JRC1                  —a
                                                                tn       C.-

                                                                     C
STATE OF MICHIGAN )
               )ss
COUNTY OF INGHANI )


     Jerome W.
            W. Zimmer, Jr., being first duly sworn, deposes and says:

            That I am Chief Clerk of the Michigan Court of Appeals and make
this affidavit in that capacity.

           That I have thoroughly searched the files and records of the
Michigan Court of Appeals and find, as of the date of this Affidavit, that an
application for leave to appeal has not been filed in reference to the October 9,
2012 Order Denying Defendant's Motion for Relief from Judgment in the
Wayne County Circuit Court file number 95-009719-01-FC.
Case 2:17-cv-11990-AJT-PTM ECF No. 8-5 filed 08/23/17   PageID.77   Page 3 of 3



        Further Affiant says not.



                                         Je ome W.       er, Jr., Chief Clerk
                                         Michigan Court of Appeals

Subscribed and sworn to before me
this 11   day of July, 2017.

                 AA

Mary IAN-lickner, Notary Public
Ingham County, Michigan
My Commission Expires: 09/04/2023                                   C)
                                                                       r-)
                                                                    0 at
2017-0185840-A




                                                                      Cs)
